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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION


In the Matter of the Application        No. _________________________
                                              4:21-mj-168

Regarding
                                        APPLICATION FOR AN ORDER
21-184-04                               AUTHORIZING THE INSTALLATION AND
                                        USE OF A PEN REGISTER AND TRAP AND
                                        TRACE DEVICE, AND FOR SUBSCRIBER
                                        INFORMATION "REDACTED"


       The United States of America, moving by and through Special Assistant
United States Attorney Mark Hodges, respectfully submits under seal this ex parte
application for an order pursuant to 18 U.S.C §§ 3122 and 3123, authorizing the
installation and use of a pen register and trap and trace device (“pen-trap device”)
to record, decode, and/or capture dialing, routing, addressing, and signaling
information (not to include geographic or cell site location information) associated
with each communication to or from cell phone number                      (“TARGET
CELL PHONE”), described in Attachment A, operated on the network of Cellco
Partnership, dba Verizon Wireless, Inc., a wireless telephone service provider,
headquartered at 180 Washington Valley Road, Bedminster, NJ 07921 (“Service
Provider”), and authorizing the disclosure of subscriber information pursuant to
18 U.S.C. §§ 2703(c)(1)(B), 2703(c)(2), and 2703(d), for any telephones contacted
by, or contacting, the TARGET CELL PHONE, for a period of 60 days, provided,
however, that such information shall not include the contents of any
communication.

      In support of this application, the United States asserts:

      1.     This is an application made under 18 U.S.C. § 3122(a)(1) for an order
under 18 U.S.C. § 3123 authorizing the installation and use of a pen register and
trap and trace device.

       2.   Such an application must include three elements: (1) “the identity of
the attorney for the Government or the State law enforcement or investigative
officer making the application”; (2) “the identity of the law enforcement agency
conducting the investigation”; and (3) “a certification by the applicant that the
information likely to be obtained is relevant to an ongoing criminal investigation
being conducted by that agency.” 18 U.S.C. § 3122(b).

      3.     The undersigned applicant is an “attorney for the government” as
defined in Rule 1(b)(1) of the Federal Rules of Criminal Procedure.
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       4.    The law enforcement agencies conducting the investigation are the
Drug Enforcement Administration (DEA), South Dakota Division of Criminal
Investigations (DCI) and the Sioux Falls Area Drug Task Force (SFADTF).

       5.    The applicant hereby certifies that the information likely to be
obtained by the requested pen-trap device is relevant to an ongoing criminal
investigation being conducted by DEA Special Agent (SA) Brandon Purcell and
others.

      6.     This Court is a “court of competent jurisdiction” under 18 U.S.C.
§ 3122(a)(2) because it “has jurisdiction over the offense being investigated,”
18 U.S.C. § 3127(2)(A)(i).

                           ADDITIONAL INFORMATION

       7.    Other than the three elements described above, federal law does not
require that an application for an order authorizing the installation and use of a
pen register and trap and trace device specify any facts. The following additional
information is provided to demonstrate that the order requested falls within this
Court’s authority to authorize the installation and use of a pen register or trap and
trace device under 18 U.S.C. § 3123(a)(1).

       8.    A “pen register” is “a device or process which records or decodes
dialing, routing, addressing, or signaling information transmitted by an
instrument or facility from which a wire or electronic communication is
transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a device or process
which captures the incoming electronic or other impulses which identify the
originating number or other dialing, routing, addressing, and signaling information
reasonably likely to identify the source of a wire or electronic communication.” 18
U.S.C. § 3127(4).

      9.     In the traditional telephone context, pen registers captured the
destination phone numbers of outgoing calls, while trap and trace devices
captured the phone numbers of incoming calls. Similar principles apply to other
kinds of wire and electronic communications, as described below.

      10.    The Internet is a global network of computers and other devices.
Devices directly connected to the Internet are identified by a unique number called
an Internet Protocol, or “IP” address. This number is used to route information
between devices. Generally, when one device requests information from a second
device, the requesting device specifies its own IP address so that the responding
device knows where to send its response. An IP address is analogous to a
telephone number and can be recorded by pen-trap devices, and it indicates the
online identity of the communicating device without revealing the communication’s
content.

      11.   A network is two or more computers or other devices connected to
each other that can exchange information with each other via some transmission


                                         [2]
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method, such as by wires, cables, or radio waves. The equipment that connects a
computer or other device to the network is commonly referred to as a network
adapter. Most network adapters have a Media Access Control (“MAC”) address
assigned by the manufacturer of the adapter that is designed to be a unique
identifying number. An adapter’s unique MAC address allows for proper routing of
communications on a local area network and may be used for other purposes,
such as authentication of customers by some network service providers. Unlike a
device’s IP address that often changes each time a device connects to the Internet,
a MAC address is fixed at the time of manufacture of the adapter. Because the
address does not change and is intended to be unique, a MAC address can allow
law enforcement to identify whether communications sent or received at different
times are associated with the same adapter.

      12.   On the Internet, data transferred between devices is not sent as a
continuous stream, but rather it is split into discrete packets. Generally, a single
communication is sent as a series of packets. When the packets reach their
destination, the receiving device reassembles them into the complete
communication. Each packet has two parts: a header with routing and control
information, and a payload, which generally contains user data. The header
contains non-content information such as the packet’s source and destination IP
addresses and the packet’s size.

       13.    In addition, different Internet applications are associated with
different “port numbers,” or numeric identifiers. The port number is transmitted
along with any communication using that application. For example, port 80
typically is associated with communications involving the World Wide Web.

       14.    A cellular telephone, or cell phone, is a mobile device that transmits
and receives wire and electronic communications. Individuals using cell phones
contract with cellular service providers, who maintain antenna towers covering
specific geographic areas. In order to transmit or receive calls and data, a cell
phone must send a radio signal to an antenna tower that, in turn, is connected to
a cellular service provider’s network.

       15.    In addition to a unique telephone number, each cell phone has one or
more unique identifiers embedded inside it. Depending upon the cellular network
and the device, the embedded unique identifiers for a cell phone could take several
different forms, including an Electronic Serial Number (“ESN”), a Mobile Electronic
Identity Number (“MEIN”), a Mobile Identification Number (“MIN”), a Subscriber
Identity Module (“SIM”), an International Mobile Subscriber Identifier (“IMSI”), a
Mobile Subscriber Integrated Services Digital Network Number (“MSISDN”), or an
International Mobile Station Equipment Identity (“IMEI”). When a cell phone
connects to a cellular antenna or tower, it reveals its embedded unique identifiers
to the cellular antenna or tower, and the cellular antenna or tower records those
identifiers as a matter of course. The unique identifiers—as transmitted from a cell
phone to a cellular antenna or tower—are like the telephone number of an
incoming call. They can be recorded by pen-trap devices and indicate the identity



                                        [3]
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of the cell phone device making the communication without revealing the
communication’s content.

      16.     In addition, a list of incoming and outgoing telephone numbers is
generated when a cell phone is used to make or receive calls, or to send or receive
text messages (which may include photographs, videos, and other data). These
telephone numbers can be recorded by pen-trap devices and then used to identify
the parties to a communication without revealing the communication’s contents.

      17.   A cell phone can also be used to exchange text messages with email
accounts. The email addresses associated with those text messages can be
recorded by pen-trap devices and then used to identify parties to a communication
without revealing the communication’s contents.

       18.    Cellular phones can connect to the Internet via the cellular network.
When connecting through the cellular network, Internet communications sent and
received by the cellular phone each contain the same unique identifier that
identifies cellular voice communications, such as an ESN, MEIN, MIN, SIM, IMSI,
MSISDN, or IMEI. Internet communications from a cellular phone also contain the
IP address associated with that cellular phone at the time of the communication.
Each of these unique identifiers can be used to identify parties to a
communication without revealing the communication’s contents.

                             THE RELEVANT FACTS

       19.    The United States government, including DEA, is investigating
violations of



      20.   I am advised by DEA SA Brandon Purcell of the following:

     21.    From April 2021 to the present, members of Drug Enforcement
Administration (DEA) Sioux Falls Resident Office (SFRO) have been investigating
the




      22.   In furthering the identification of this




                                        [4]
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   23.   In June 2021,




   24.   This DEA




   25.   On July 8, 2021,




                                   [5]
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   26.   On July 13, 2021,




   27.   On July 21, 2021,




   28.   On July 22, 2021,




                                   [6]
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   29.   Later, on September 11, 2021,




   30.   On September 14, 2021,




                                   [7]
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       31.    Law enforcement believes the TARGET CELL PHONE continues to be
utilized by        to further                     .

       32.    The conduct being investigated involves use of the TARGET CELL
PHONE. To further the investigation, investigators need to obtain the dialing,
routing, addressing, and signaling information (not to include geographic or cell
site location information) associated with communications sent to or from that cell
phone number, as well as subscriber information for the telephones contacting the
TARGET CELL PHONE.

      33.   The pen-trap device sought by this application will record, decode,
and/or capture dialing, routing, addressing, and signaling information (not to
include geographic or cell site location information) associated with each
communication to or from the TARGET CELL PHONE, including the date, time,
and duration of the communication, and the following, without geographic limit:

                    a.    IP addresses associated with the cell phone device or
              devices used to send or receive electronic communications,

                    b.     Any unique identifiers associated with the cell phone
              device or devices used to make and receive calls with the TARGET
              CELL PHONE, or to send or receive other electronic communications,
              including the ESN, MEIN, IMSI, IMEI, SIM, MSISDN, or MIN,

                     c.    IP addresses of any websites or other servers to which
              the cell phone device or devices connected,

                    d.    Source and destination telephone numbers and email
              addresses, and

                     e.     “Post-cut-through dialed digits,” which are digits dialed
              after the initial call set up is completed, subject to the limitations of
              18 U.S.C. § 3121(c).

                             GOVERNMENT REQUESTS

      34.    For the reasons stated above, the United States requests that the
Court enter an Order authorizing the installation and use of a pen-trap device to
record, decode, and/or capture the dialing, routing, addressing, and signaling
information (not to include geographic or cell site location information) described
above for each communication to or from the TARGET CELL PHONE, to include
the date, time, and duration of the communication, without geographic limit. The
United States does not request and does not seek to obtain the contents of any
communications, as defined in 18 U.S.C. § 2510(8).

      35.   Based on the specific and articulable facts set forth above, pursuant
to 18 U.S.C. §§ 2703(c)(1)(B), 2703(c)(2), and 2703(d), I request that the Service
Provider be ordered to supply subscriber information (including the names and


                                          [8]
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addresses, whether listed or unlisted, billing information, and periods of telephone
activation) related to the dialing, routing, addressing or signaling information (not
to include geographic or cell site location information) captured by the pen register
on the TARGET CELL PHONE, as soon as practicable, 24 hours a day, for all
published and non-published telephone numbers identified by the pen register as
having called or been called from the TARGET CELL PHONE.

       36.   The United States further requests that Court’s order authorize the
foregoing installation and use for a period of 60 days from the date of the Court’s
Order, pursuant to 18 U.S.C. § 3123(c)(1).

        37.   The United States further requests, pursuant to 18 U.S.C.
§§ 3123(b)(2) and 3124(a)-(b), that the Court order the Service Provider, and any
other person or entity providing wire or electronic communication service in the
United States whose assistance may facilitate execution of this Order, to furnish,
upon service of the Order, information, facilities, and technical assistance
necessary to install the pen-trap device, including installation and operation of the
pen-trap device unobtrusively and with minimum disruption of normal service.
Any entity providing such assistance shall be reasonably compensated by DEA,
pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing
facilities and assistance in furtherance of this Order.

       38.  The United States further requests that the Court order the Service
Provider and any other person or entity whose assistance may facilitate execution
of this Order, to notify the applicant and DEA Special Agent Brandon Purcell of
any changes relating to the TARGET CELL PHONE, and to provide prior notice to
the applicant and Special Agent Purcell before terminating or changing service to
the TARGET CELL PHONE.

      39.     The United States further requests that the Court order that DEA and
the applicant have access to the information collected by the pen-trap device as
soon as practicable, 24 hours per day, or at such other times as may be acceptable
to them, for the duration of the Order.

       40.    The United States further requests, pursuant to 18 U.S.C.
§ 3123(d)(2), that the Court order the Service Provider and any other person or
entity whose assistance facilitates execution of this Order, and their agents and
employees, not to disclose in any manner, directly or indirectly, by any action or
inaction, the existence of this application and Order, the resulting pen-trap device,
or this investigation, unless and until authorized by this Court, except that the
Service Provider may disclose this Order to its attorney for the purpose of receiving
legal advice.

      41.    The foregoing is based on information provided to me in my official
capacity by an agent of DEA.

      I declare under penalty of perjury that the foregoing is true and correct.



                                         [9]
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                1st day of October, 2021.
    Dated this _____

                                  DENNIS R. HOLMES
                                  Acting United States Attorney


                                  _________________________________________
                                  Mark Hodges
                                  Special Assistant United States Attorney
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                                    [10]
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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION



   In the Matter of the Application Regarding:   No. _______________________
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   21-184-04                                     ATTACHMENT A"REDACTED"




Facility            Account            Subscriber, if        Subject of
                    Number or          known                 investigation, if
                    identifier                               known
      Cellco
Partnership, dba
                                             Unknown
Verizon Wireless,
       Inc.
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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION

In the Matter of the Application Regarding:
                                              No. _________________________
                                                    4:21-mj-168

21-184-04
                                              ORDER FOR PEN REGISTER
                                              AND TRAP/TRACE DEVICE "REDACTED"




      Mark Hodges, on behalf of the United States, has submitted an application

pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue an

Order continuing and authorizing the installation and use of pen registers and

trap and trace devices (“pen-trap devices”) on the account associated with

subscriber described in Attachment A, which is incorporated into this Order by

reference.

      The Court finds that an attorney for the government has submitted the

application and has certified that the information likely to be obtained by such

installation and use is relevant to an ongoing criminal investigation being

conducted by Drug Enforcement Administration, of unknown individuals in

connection with possible violations of 21 U.S.C. §§ 841(a)(1) and 846 and 18

U.S.C. § 1956.

      IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the

Drug Enforcement Administration may install and use pen-trap devices to

record, decode, and/or capture dialing, routing, addressing, and signaling

information associated with each communication to or from the account
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associated with subscriber described in Attachment A, including the date, time,

and duration of the communication, and the following, without geographic limit:

              a.   IP addresses associated with the cell phone device or
                   devices used to send or receive electronic
                   communications.

              b.   Any unique identifiers associated with the cell phone
                   device or devices used to make and receive calls with
                   the Target Cell Phone, or to send or receive other
                   electronic communications, including the ESN, MEIN,
                   IMSI, IMEI, SIM, MSISDN, or MIN.

              c.   IP addresses of any websites or other servers to which
                   the cell phone device or devices connected.

              d.   Source and destination telephone numbers and email
                   addresses.

              e.   “Post-cut-through dialed digits,” which are digits dialed
                   after the initial call set up is completed, subject to the
                   limitations of 18 U.S.C. § 3121(c).

      IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the

use and installation of the foregoing is authorized for sixty days from the date of

this Order;

      IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that Cellco Partnership, dba Verizon Wireless, Inc. and any other

person or entity providing wire or electronic communication service in the United

States whose assistance may, pursuant to 18 U.S.C. § 3123(a), facilitate the

execution of this Order shall, upon service of this Order, furnish information,

facilities, and technical assistance necessary to install the pen-trap devices,

including installation and operation of the pen-trap devices unobtrusively and

with minimum disruption of normal service;



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      IT IS FURTHER ORDERED that the Drug Enforcement Administration

reasonably compensate Cellco Partnership, dba Verizon Wireless, Inc. and any

other person or entity whose assistance facilitates execution of this Order for

reasonable expenses incurred in complying with this Order;

      IT IS FURTHER ORDERED that Cellco Partnership, dba Verizon Wireless,

Inc. and any other person or entity whose assistance may facilitate execution of

this Order notify the applicant and Drug Enforcement Administration of any

changes relating to the account associated with subscriber described in

Attachment A, including changes to subscriber information, and to provide prior

notice to the Drug Enforcement Administration before terminating or changing

service to the account associated with subscriber;

      IT IS FURTHER ORDERED that the Drug Enforcement Administration and

the applicant have access to the information collected by the pen-trap devices as

soon as practicable, twenty-four hours per day, or at such other times as may

be acceptable to Drug Enforcement Administration for the duration of the Order;

      IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that Cellco

Partnership, dba Verizon Wireless, Inc. and any other person or entity whose

assistance facilitates execution of this Order, and their agents and employees,

shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and this Order, the pen-trap devices, or the

investigation to any person, unless and until otherwise ordered by the Court,

except that Cellco Partnership, dba Verizon Wireless, Inc. may disclose this




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Order to an attorney for Cellco Partnership, dba Verizon Wireless, Inc. for the

purpose of receiving legal advice;

        IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 2703(c)(1)(B) and

(d), that the Internet and Mail Service Provider(s) revealed from the IP and email

addresses captured on the pen register and trap and trace device and the IP

addresses produced on the IP address history log, provide all information

concerning the account assigned the specific IP and/or email addresses at the

specific date and time, to include without limitation all subscriber information,

caller identification/ANI information if the account is a dial up account or

physical termination point if the account is Cable, DSL, ISDN, T1, and any

cellular handset information such as (MEID,IMEI,MIN,MDC,MAC address) or the

like;

        IT IS FURTHER ORDERED that the Clerk of the Court shall provide the

United States Attorney’s Office with three certified copies of this application and

Order and shall provide copies of this Order to the Drug Enforcement

Administration and Cellco Partnership, dba Verizon Wireless, Inc. upon request.
                October 1, 2021
        Dated: ____________________________

                                      BY THE COURT:


                                      __________________________________________
                                      VERONICA L. DUFFY
                                      United States Magistrate Judge




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